         Case 5:18-cv-00283-KGB Document 67 Filed 11/09/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION

JUSTIN MCCALISTER,                                                                  PLAINTIFF

v.                                Case No. 5:18-cv-00283-KGB-JTR

RONALD STUKEY, et al.                                                             DEFENDANT

                                          JUDGMENT

       Pursuant to the Order entered on this date and this Court’s prior Orders (Dkt. Nos. 40, 50,

66), it is considered, ordered, and adjudged that plaintiff Justin McCalister’s complaint is

dismissed. The relief sought is denied.

       So adjudged this 9th day of November, 2020.


                                                         ________________________________
                                                          Kristine G. Baker
                                                         United States District Judge
